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Appendix 4

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Declarations

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}lN ITHE UN`I'IBD STA'IES msch coURT
FoR THE NoRTHERN DISmIcT o_F IEXAS
DALLAS DIVISION

TOMMY NGUYEN, PAULUS NIEKDAM,
`and LOC TRAN, IndiVidualIy and on Behalf

°fAH mims Sm”lmy Slmted’ ClVlL ACTIoNFILENo. 3:13-cv.04689-D

Plaintiffs,
V.

VERSACGM, LLC; MUHAMIVIAD AL-
Al\/IIN, lndividually; AFREEN AI.-AM]N,
lndividually

Def`endems.

JURY 'I'RIAL DEMANDED l

072 401¢0?¢0?@&0>%01 ¢O?¢O>¢O§¢O?UO'>

DECLARA'IION QF TOMMY NGUYEN

Tommy Nguyen, who having pmoual knowledge of the matters set forth below, declares
and states thc following

l. My nan1e is Tommy Nguyen. l am a named Plaintiff` in the above~numbered and
styled la~s>'.l'suiil I am over the age of 18 and am coth in all respects to make this declaration
l make this declaration based on my own personal knowledge, unless otherwise stated upon
information and belief, Which to the best of my knowledge, is true and correct

2, 1 ain a resident_ of Tarrant Colmty, Texas, and I Was employed by Versacozn, LLC
(“Vorsacom”)* bowman 2007 and 2613, Uu1il J`anuary, 2013, I held the position of Field W'lreloss
Technioian. I was class:iiied as a non»exempt hourly employee throughout the time of my
employment With Versacom.

3. My duties as a Field Wireless Technician included installing, testing, maintaining

and repatng telecommunications equipment at Val‘ious customer locations.

 

Declaration of Tommy Nguyen in Suppor't of ~
Plaiutiffs’ Motion for Conditiona] CeriiEcation and § 216{§;) Notice Page 1

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4. Between Novembor 26, 2010 and Novomber 26, 2013, l worked for Velsacom on
various projects in Dallas, Texas, Oklahoma City, Oklahoma, Las V¢gas, Nevacla, and Chicago,
l]h'nois. My direct supervisor during those projects was either Loc 'I`ran or I~Ioan Bui.

5 . Begimu'ng in June, 2012, I worked on a project in Las Vegas for six mootbs.
Duling the project, I was required m travel to Las Vegas and work seven days per week, and
during that lime I worked an average of 30 hours of overtime each Weck.

6. Each week, I turned in a form dancing the amount of overtime l worked to my
supervisor. I was told by my supervisor that it was Versaoom’s policy not to pay overtime until
the reported overtime Was approved by someone at the corporate office.

7. During the 'six inoth that l worked in Las chas, the overtime that l reported to
Versacom Was paid only one or two times. Although I complained to someone in Versaoom’s
payroll or accounting department about not being paid for the overu'me that I worked, l Was
never told that my overtime was not approved or why my overtime was not paid.

s. `Based on my interactions with man add wheless mcmanus working ma me in
Las Vegas, Versaoom refused to pay their overtime as Woll.

9. 'Ihroughout my employment with Vcrsaoom, I and other field wireless .
technicians input our weekly hours worked into an excel spreadshcot at the end of each week
'Il:lis spreadsheot was sent to Versacom Headquarters by my supervisor.

I declan under penalty ofpeljury under the laws of the United Statcs of America that the
foregoing is ime and correct

E§ceouted on July g , 2014.

 

Declaratlon of ’I'ommy Nguyen in Support of
Plain!il’£s’ Molion for Conditional Certr'tication and § 216(!)) Notioe Page 2

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lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DlVlSlON

TOMMY NGUYEN, PAULUS NlEKDAl\/l,
and LOC TRAN, Individually and on Bchalf

Of AH Others Slmllarly Sltuated’ ClvlL ACTION FILE No_ 3;13-@v~04689-D

Plaintiffs,

V.
, JURY TRIAL DEMANDED
VERSACOM, LLC; MUHAMMAD AL-
Al\/llN, lndividually; AFREEN AL-AMIN,
lndividually

Defendants.

COD Y»O’>C»O’><'.O;OOOCODCO> CoDOOOOO'>DOOOO>

DECLARATION ()F PAULUS NIEK])AM IN SUPPORT OF PLAINTlFFS’ MOTI()N
FOR CONDITIONAL CERTIFICATION AND 5 216(bl NOTICE

Paulus Niekdam, who having personal knowledge of the matters set forth below, declares
and states the following:

l. My name is Paulus Niekdam. l am a named Plaintiff in the above-numbered and
styled lawsuit l am over the age of 18 and am competent in all respects to make this declaration
l make this declaration based on my own personal knowledge, unless otherwise stated upon
information and belicf, which to the best of my knowledge, is true and correct

2. l am a resident of Tarrant County, Texas, and l Was employed by Vcrsacom, LLC
(“Versacom”) between May, 2012 and Novcmber, 2012. Until Novembcr, 2012, l held the
position of senior field wireless technician l was classified as a non-exempt hourly employee
throughout the time of my employment with Versacom.

3. My primary duties as a senior field wireless technician included installing, testing,
maintainingj and repairing telecommunications equipment at various customer locations As a

senior field wireless technician l also had additional duties that included communicating with

 

Declaration of Paulus Niekdam in Support of
Plaintiffs’ Motion for Conditional Certification and § 216(b) Notice Page l

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the customer, scheduling, and submitting to Versacom Weekly hours worked for all field wireless
technicians on my project

4. Between May, 2012 and November, 2012, l worked for Versacorn on various
projects in San Diego, California and Los Angeles, California. My direct supervisor during
those projects was Loc Tran.

5. During the entire time that l worked for Versacom, l was required to travel to San
Diego or Los Angeles and work six to seven days per week, and during that time l worked an
average of twenty (20) to thirty (3 0) hours of overtime each weel<, but Versacom never paid me
for more than 10 hours of overtime regardless of the actual number of hours worked over forty
hours in a week.

6. During one week, I and other field Wireless technicians worked at a customer’s
site for twenty-four (24) hours straight in addition to our regularly scheduled hours, but
Versacom only paid us for 10 hours of overtime that week.

7. Each Week, l submitted a spreadsheet to my supervisor that included the amount
of overall hours and overtime hours that I and other field Wireless technicians worked in the San
Diego and Los Angeles Market. l was told by my supervisor that it was Versacom’s policy not
to pay overtime until the reported overtime was approved by someone at the corporate oft`ice.

8. Dun'ng the entire time that l worked for Versacom, l was never paid more than 10
hours of the twenty to thirty hours of overtime that I reported to Versacom each week. Although
l complained to my supervisor about not being paid for the overtime that I worked, l was told
that that there was nothing he could do because the “company paid what the company paid.”

9. l drove my personal vehicle to California from TeXas while working for

Versacom. l was asked by a co~worl<er to store a piece of Versacom equipment in my vehicle

 

Declaration of Paulus Niekdam in Support of
Plaintiffs’ Motion for Conditional Certif'lcation and § 216(b) Notice Page 2

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during off hours Atter finishing Work erie day, l stored my personal laptep, personal tools, and
the Versaeom equipment in my vehicle l\/ly vehicle Was broken into overnight while it sat in the
parking lot of my hotel Along with my personal propertyq the Versacorn equipment was stolen
l reported the theft to the police, Versacom, and my personal automobile insurance company,.

10. Versac'om refused to pay me for three weeks of wages unless my personal
automobile insurance company paid Ve'rsacom $7,(}0(} for the stolen equipment When l
complained and asked to be paid for the \vorl< that l had already performed, Muhamrnad al-
Amin, Versacom’s general manager, sent mean entail stating that l was financially responsible
for the stolen equipnient-, and that until Versaeem received a check nom my insurance cernpany,
Versccm W'ould hold the wages owed te me. Although l never signed any document taking
financial responsibility for the stolen equipment Mr. al-Aniin told me that it was company
policy to hold my Wages’ until Versacom was reimbursed for the stolen equipment by my
personal automobile insurance provider l\/Iy personal automobile insurance provider denied the
claim, and Ver-sacorn never paid me for the three Weeks ofwages owed to me.

l declare under penalty of perjury under the laws of the United States of Arnerice. that the
foregoing is true and correct

...:¢§(.

Exe'cuted on Juiy'__ §§ , 2014.

._.¢___._._»

 

 

Paulus Niel<dam

Deelaration of Paulus Niekdam in Support of
Piainti€§s’ Moti<m for Conditional Cert§iicaticxr and § 216(!)) Notice Page. 3

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lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TOMMY NGUYEN, PAULUS NIEKDAM, §
and LOC TRAN, Individually and on Behalf §

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0 ets mary mae ’ § CtvIL ACrIoN FILE No.3;13-cv-04689-D

Plarntirfs, §

§

V. §
§ JURY TRIAL DEMANDED

VERSACOM, LLC; MUHAMMAD AL- §

AMIN, Individually; AFREEN AL~AMIN, §

Individually §

Defendants. §

DECLARATI()N OF LOC TRAN IN SUPPORT OF PLAINTIFFS’ M()TION FOR
CONDITIONAL CERTIFICATION AND§ 216(b) NOTICE

Loc Tran, who having personal knowledge of the matters set forth below, declares and
states the following

l. My name is Loc Tran. l am a named Plaintiff in the above~nurnbered and styled
lawsuit l am over the age of 18 and am competent in all respects to make this declaration l
make this declaration based on my own personal knowledge, unless otherwise stated upon
information and belief, which to the best of my knowledge is true and correct

2. l am a resident of Tarrant County, Texas, and l held multiple jobs at Versacom,
LLC (“Versacom”) between October 1, 2007 and May 4, 2013. There were times during my
employment that l did no work for Versacom because Versacom had no work for me to do. This
mainly occurred from March, 2008 to September, 2008. Between December, 2009 and May 4,
2013, l worked continuously on different Versacom projects as a senior field wireless technician
Regardless of jobs held or duties assigned, I was classified by Versacom as a non-exempt hourly

employee throughout my entire employment with Versacom.

 

Declaration of Loc Tran in Support of
Plaintiffs’ Motion for Conditional Certitication and § 216(b) Notice Page 1

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3. My primary duties as a field wireless technician included installing, testing,
maintaining, and repairing telecommunications equipment at various Versacom customer
locations. As a senior field wireless technician, I also had additional duties that included
communicating with the customer about specific project technical requirements and issues,
scheduling work for other field wireless technicians, and submitting weekly hours worked and
tasks completed for all field wireless technicians on my project Additionally, l provided
supervisory and staffing support for other installation and integration projects for Which
Muhammed al-Amin promised to pay me a per site commission after completion of each site.

4. Between October l, 2007 and May 4, 2013, l worked for Versacom on various
projects in lllinois, Nevada, Calif`ornia, Georgia, Texas, and Oklahoma. My supervisors during
those projects were Muhammad al-Amin, Soheli Sadeque, Tom Pierce, Doan Le, and Shaudra
Skinner. Throughout my employment with Versacom, Muhammad al-Amin was Versacom’s
general manager, and he had ultimate approval authority regarding staffing, conditions of
employment, and overtime policy. The documents attached hereto as exhibit l constitute a true
and correct copy of excerpts from the Versacom’s Employee Handbook Which was provided to
me during my employment with Versacom.

5. During the entire time that l worked for Versacom, I was required to travel to
different cities in Illinois, Nevada, California, Georgia, Texas, and Ol<lahoma, and l worked six
to seven days per week. Between December, 2009 and May, 2013, I worked an average of forty
(40) to sixty (60) hours of overtime each week, but Versacom would frequently refuse to pay me
for all of my overtime hours regardless of the actual number of hours l Worked over forty hours
in a week.

6. As a senior field wireless technician, l was also responsible for reporting the

hours worked by other field wireless technicians on my team to Versacom Headquarters’ staff

 

Declaration of Loc Tran in Support of
Plaintiffs’ Motion for Conditional Certification and § 216(b) Notice Page 2

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for payroll processing and customer billing. On July l8, 2011, I complained to Mr. al-Amin and
his Versacom Headquarters staff about me and other field wireless technicians on my team not
being paid for our reported overtime hours. Versacom never paid me for all of the overtime
hours that l worked during that proj ect.

7. Mr. al-Amin would frequently complain to me and other senior field wireless
technicians about the number of overtime hours being worked without his prior written approval
On September ll, 2012, Mr. al-Amin directed his headquarters’ staff to either stop paying
overtime or cap the amount of overtime being paid. Mr. al-Amin and my supervisors
encouraged me and other field wireless technicians to stop reporting all of the overtime hours
worked by our field teams.

8, Even when Scott Spray, Versacom’s H.R. Director, counseled Mr. al-Amin in
August 2011 that if overtime hours were worked by technicians, Versacom was obligated to pay
for each hour of overtime worked, Mr. al-Amin persisted in standing by Versacom’s policy that
overtime would not be paid unless it was pre-approved in writing Mr. al-Amin never
disciplined me or anyone else on my team for working overtime without written pre-approval
because when overtime was worked by me or my team, it was necessary to complete the work
that Versacom assigned

9. While working for Versacom, l communicated frequently with other senior field
wireless technicians about working conditions, Versacom compensation policy, and Mr. al-
Amin’s management style. Furthermore, Mr. al-Amin frequently shared with me his thoughts
about how labor costs for wireless field technicians should be managed Mr. al-Amin told me
several times that he did not like paying wireless field technicians on an hourly basis because he

believed that technicians would “very oiten” abuse it.

 

beclaration of Loc Tran in Support of
Plaintiffs’ Motion for Conditional Certif"lcation and § 216(1)) Notice Page 3

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10. ln November, 2012, Mr. al-Amin, instituted an “all inclusive” daily pay rate on an
installation and integration project in Chicago, lllinois. Prior to the institution of this new
compensation policy, field wireless technicians were reimbursed by Versacom. for certain
business expenses incurred while working on a project away from home such as lodging,
parking, tolls, mileage, meals, etc. As a way to reduce costs and avoid overtime, Mr. al-Amin
insisted on implementing a compensation scheme that not only required field wireless
technicians to pay Versacom business expenses out of their wages, but Mr. al-Aniin’s new pay
scheme also required, by its very nature, me and other field wireless technicians to work
overtime hours without compensation

ll. Versacom did not require, request, or mandate that field wireless technicians
being paid on a site or daily pay rate report or track the amount of actual hours worked on a daily
basis. The “time” tracking spreadsheet required by Versacom to be completed and submitted by
me for the Central Region T-Mobile Project did not include a place on the spreadsheet for me or
my team members to input their daily hours. We were only allowed to report a daily “all
inclusive” rate and any hours worked on tasks that were considered outside the scope of the work
that Versacom assigned to our team.

12. From December, 2009 to May, 2014, I submitted a weekly spreadsheet to
Versacom headquarters that included tasks completed by each field wireless technician assigned
to the project, the hours worked on that associated task (unless it was a Site or daily “all
inclusive” rate pay project), the out of scope hours, and mileage (unless it was a site or daily “all
inclusive rate pay proj ect). I and other field Wireless technicians were frequently told that it was
Versacom’s policy not to pay overtime until the reported overtime was approved by someone at y

the corporate office. Often this approval never came, and eventually, many of the field wireless

 

Declaration of Loc Tran in Support of
Plaintiffs’ Motion for Conditional Certit"xcation and § 216(b) Notice Page 4

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technicians (including me) stopped reporting all of the hours that we worked because we knew
from experience that the overtime would not be paid or it would be capped at a certain amount

13. In August, 2011, l attempted to explain to Mr. al-Amin that it would be
impossible to avoid overtime on the Atlanta, Ga installation and integration project due to the
workload for that project. Out of frustration over Mr. al-Amin refusal to pay overtime for hours
actually worked, l suggested that he set a max of 50 hours per week per technician instead of
mandating that there is not to be any overtime worked without written pre-approval l explained
to Mr. al-Amin that my team had been working at least 10 hours per day, not including the time
spent on reporting and documenting the completed work. Despite my attempted complaints and
interventions, Mr. al-Amin insisted on denying overtime based on Versacom’s written overtime
policy. When other field technicians complained to me about not receiving overtime l would
simply tell them that the “company paid what the company paid.”

14. ln September, 2012, Mr. al-Amin sent an email to Soheli Sadeque and Tom
Pierce, instructing them to “CAP OT at $l,500 per pay period.” By this point most of the field
wireless technicians had gotten the “message” not to report all of our overtime hours, but there
were a few field technicians that were still reporting weekly overtime that Mr. al~Amin
considered to be excessive, and he declared in that email that the overtime for “certain
individuals” needed to stop immediately Despite Mr. al-Amin’s constant insistence that the
overtime being reported was excessive, l am not aware of any field wireless technician that was
disciplined for either falsely reporting excessive hours or for working overtime without receiving
prior written approval Mr. al-Amin simply directed Versacom’s payroll staff to either cap or not

pay the overtime

 

Deciaration of Loc Tran in Support of
Plaintiffs’ Motion for Conditional Certification and § 216(b) Notice Page 5

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l declare under penaity of periln'y under the laws ot"the tjniteti Statcs of america that the

foregoing is true and correct

 

F;.»'eented on ju§;¢ _A_§; Et‘§§¢i.

 

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5 j §
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Exhibit No0 1

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Employee Handbook
Of

Policies, Procedures and Guidelines

Issue Date: August 01, 2008

 

 

VERSACOMOOOZSB

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COMPENSATION POLICIES

Genera!. Versacom' compensation policy is to strive to pay Wages that are competitive with
those in the community and the industry, recognizing individual effort and contribution to the
Company's successl The basis for an employee’s compensation will be his or her knowledge,
ability, scope of responsibilities and the demands of the job. Wage ranges are generally
reviewed annually to maintain our competitive posture Discussion of individual compensation
details with another employee/contractor is strictly prohibited and may result in immediate
termination Without notice. Any type of time off is not paid during the probationary period and
pay is deducted for the time~off.

Ovme”i~`fiiii§:i Overtime will be paid for only PRE-APPROVED hours in writing by two levels of
management above you. Overtime pay is required for non~exempt employees who work 40 or
more hours in a workweek, or as otherwise required by law (e.g., after 8 hours in a work day,
in California). Paid time off that is not worked, such as holidays, vacation, is not counted as
"hours worked" for the purpose of calculating overtime. Employees are not allowed to work
overtime unless it has been approved in advance by a supervisor and his/her boss. Each
employee's time entry should be accurately recorded to reflect all time actually Worl<ed. Under
no circumstances should an employee work "off the clock," and any such request from a
Versacom supervisor or customer should be reported to the Versacom Human Resources
, Department immediately ‘”""”“”'“““*'“""“""'“'"
Recording Time. All employees must keep accurate records of their work time, using the
automated time entry system. Accurate and timely entries are crucial, as they form the basis
for customer billing and, for non~exempt employees, your compensation Your time should be
electronically submitted to your supervisor by noon on Saturday, for each week in which any
work was performed Any employee who falsifies his or her own work time records Will be
subject to discipline up to and including immediate discharge from employment Hourly billable
employees Will be paid only for client approved hours, other than holiday, sick and vacation
‘hours.

 

 

Pay Periods and Payroll Deductions. Emp|oyees are paid, via paycheck or direct deposit, every
other Friday. Versacom will have deducted amounts required by law, such as those for
federal/state income tax, l\/ledicare and social security (FlCA), or ordered by a cou`rt, such as
garnishment of wages Versacom will also deduct amounts authorized by you in writing, such
as for insurance premiums, 401(l<) plan contributions and your purchases of discounted
computers and other equipment

if you believe there was an improper deduction of your pay, please report it to the Finance
Department immediately so that any error can be promptly corrected or a proper deduction can
be explained

Versacom will not authorize advances on paychecks or loans to employees |f you cannot pick
up your paycheck, you may send a representative who must present your Written authorization

VERSACOMOOOZ€Z

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Notice and Consent Form

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llVlPORTANT NOT|FICAT|ON TO POTENT|AL CLASS MEN|BERS

TO: ALL CURRENT AND FORIV|ER VERSACON|, LLC FlELD WIRELESS TECHNlC|ANS
WHO WERE ElV|PLDYED BETWEEN NOVEN|BER 26, 2010 AND , 2014.

FRON|: LU PHAM - ATI'GRNEY AT CANTEY HANGER, LLP

RE: RlGHT TO JOIN A LAWSU|T SEEK|NG RECOVERY OF UNPAlD WAGES AND
OVERT|ME CO|VIPENSAT|ON

DATE: AUGUST , 2014

1. PURPOSE OF NOT|CE

The purpose of this notice is to inform you that a lawsuit has been filed against
Versacom, LLC (”Versacom”) for unpaid overtime wages and that you may be eligible to join this
suit. You may be able to participate in this lawsuit because you potentially are similarly
situated to the individuals who initially brought the lawsuit. This notice discusses the effect
that this lawsuit may have on your rights and gives instructions on how to participate should
you choose to do so.

2. DESCRIPT|ON OF THE LAWSU|T

Plaintiffs Tommy Nguyen, Paulus Nickediem, and l.oc Tran filed this lawsuit against
Versacom on November 26, 2013 alleging that Versacom willfully violated the federal Fair Labor
Standards Act (”FLSA") by failing to pay field wireless technicians wages and overtime
compensation for hours worked in excess of 40 hours in a workweek. Plaintiffs are also alleging
that the Versacom Wi|lfu|ly violated the FLSA by failing to pay the statutorily required minimum
Wage when it did not pay field wireless technicians for any hours worked in a workweek. The
case is currently pending in the United States District Court for the Northern District of Texas as
Cause No. 3:13-cv-04689-D. Versacom denies Plaintiffs' claims and has asserted various
defenses Plaintiffs’ counsel in this cases are:

Lu Pham
lupham@canteyhanger.com
Caro|ine Harrison
charrison@ca nteyhager,com
Antonio U. Al|en
aa|len@canteyhanger.com
CANTEY HANGER, LLP

Cantey Hanger Plaza

600 West 6th Street, Suite 300
Fort Worth, Texas 76102

Te|: (817) 877- 2800 and FaX: (817) 877-2807

NOTlFlCATlON TO POTENTlAL CLASS lVlEl\/‘|BERS P a g e l 1

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Generally, the FLSA’s overtime provisions require employers to compensate an
employee at the rate of one and one-half times his or her regular hourly rate for all hours
worked beyond 40 hours per week, unless that employee is properly classified as ”exempt"
from FLSA's overtime provisions. The Plaintiffs in this lawsuit claim that Versacom willfully
failed'to pay for all hours Worked in excess of 40 hours in a workweek, and thus all overtime
hours worked, when Versacom enforced its company policy of requiring pre-approval for any
overtime hours worked. Plaintiffs seek back pay and liquidated damages for all eligible
employees. Plaintiffs also seek recovery of court costs and attorneys’ fees caused by the need
to bring this suit.

3. CO|V|POSlTlON OF THE CLASS

Plaintiffs sue on their own behalf and also on behalf of other employees with whom
they are similarly situated. Those individuals alleged to be similarly situated are all current and
former Versacom field wireless technicians who were employed between November 26, 2010
and , 2014.

This Notification is meant for the purpose of determining the identity of those who wish
to be involved in this case. This Notification is also meant to provide an orderly way to
determine who wishes to join this lawsuit and to prevent interference by Versacom. This
Notification is also meant to inform you that it is against the law for Versacom to retaliate
against you for deciding to join this lawsuit. Your right to participate in this suit may depend
upon a later decision by the United States District Court that you and the representative
Plaintiffs are actually ”similarly situated."

4. YOUR RlGHT TO PARTlC|PATE lN TH|S SUlT

lf you fit the definition above-that is, if you are a current or former Versacom field
Wireless technician and were employed between November 26, 2010 and , 2014-
you may be eligible to participate in this lawsuit.

You may file your written consent to participate in this lawsuit even if:

(a) Versacom told you that you were ineligible to receive overtime pay;

(b) Versacom paid you for some overtime hours worked but did not pay you for all
hours you actually worked in excess of 40 hours in a workweek;

(c) Versacom told you that it was authorized to withhold your pay for all hours you
actually worked in a particular workweek; and

(d) You did not keep records of your hours worked.

5. HOW TO PARTlC|PATE lN THiS LAWSU|T

Enclosed you will find a "Consent to Become A Party Plaintiff” form and Engagement
Agreement (collectively ”Consent Form”). lf you choose to join this lawsuit, and thus
participate in any recovery that may result from this lawsuit, it is extremely important that you
read, sign, and return the Consent Form within __ days of the date of this notice's post

NOTlFlCATlON TO POTENT|AL CLASS l\/lEl\/lBERS P a g e l 2

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mark. Failure to return the Consent Form within this time period will prevent you from
participating in the lawsuit.

|f you have any questions about filling out or sending in the Consent Form, please
contact Plaintiffs’ counsel listed on page one of this notice.

6. NO RETAL|ATION PERNllTTED

lt is a violation of federal law for Versacom to discharge or in any manner discriminate
or retaliate against you for taking part in this case. if you believe that you have been penalized,
discriminated against or disciplined in any way due to receiving this notification, considering
whether to join this lawsuit, or actually joining this lawsuit, you should contact Plaintiffs’
counsel immediately.

7. EFFECT OF JO|NlNG THlS SUlT

if you choose to join this lawsuit, you will be bound by the judgment, whether it is
favorable or unfavorable You will also be bound by, and may share in, any settlement reached
on behalf of the class. While this lawsuit is proceeding, you may be required to provide
information and documents, or otherwise participate in this action.

if you submit a consent form, your continued right to participate in this action depends
upon a later decision by the Court that you and the named Plaintiffs are ”sirnilarly situated”
according to applicable laws and that it is appropriate for this case to proceed as a collective
action.

Plaintiffs’ attorneys are working on a contingency fee basis, which means that if there is
no recovery, they receive no attorneys' fee. lf there is a recovery, the attorneys for the class
will receive a part of any settlement obtained or money judgment entered in favor of all
members of the class.

if you sign and return the attached Consent Form, you are entering into an agreement
with Plaintiffs’ counsel concerning attorneys' fees and costs and all other matters pertaining to
this lawsuit. '

By joining this lawsuit, you designate the representative Plaintiff(s) as your agent(s) to
make decisions on your behalf concerning the litigation, the method and manner of conducting
the litigation, the entry of an agreement with Plaintiffs’ counsel concerning fees and costs, and
all other matters pertaining to this lawsuit, These decisions and agreements made and entered
into by the representative Plaintiff(s) will be binding on you if you join this lawsuit.

8. NO LEGAL EFFECT |N NOT .lOlNlNG THlS SUlT

if you choose not to join this lawsuit, any judgment or settlement rendered in this case,
whether favorable or unfavorable to the class, will not affect you. i\/leanwhile, you will not be
entitled to share in any amounts recovered by the class. You will remain free to file your own
lawsuit, subject to any defenses that might be asserted Take note that the pendency of this
suit does not stop the statute of the limitations from running as to any claims that you might
have until you opt in to the case.

NOT|FlCATlON TO POTENT|AL CLASS l\/lEl\/lBERS P a g e | 3

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9. FURTHER lNFORNlATlON

Additional information about this Notification, specifically, or about the lawsuit in
general, may be obtained from Plaintiffs’ counsel at the address, telephone number, facsimile
number, and e~mai| address identified above on the first page of this Notice.

 

Lu Pham

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CONSENT TO BECOME A PARTY PLAINTIFF

Name:

 

l. l consent and agree to pursue former claims of unpaid overtime and/or minimum wage
through the lawsuit filed against my employer, Versacom, LLC.

2. l understand that this lawsuit is brought under the Fair Labor Standards Act and all applicable
state law. Ihereby consent, agree and opt-in to become a plaintiff herein and be bound by any
judgment by the Court or any settlement of this action.

3. l intend to pursue my claim individually, unless and until the court certifies this case as a
collective or class action. I agree to serve as the class representative if the court approves
If someone else serves as the class representative, then l designate the class representatives
as my agents to make decisions on my behalf concerning the litigation, the method and
manner of conducting the litigation, the entering of an agreement with the plaintiffs
counsel concerning attorney's fees and eosts, and all other matters pertaining to this lawsuit

4. ln the event the case is certified and then decertified, I authorize Cantey Hanger, LLC to use
this Consent Form to re-f`ile my claims in a separate or related action against my employer.

(Signature) (Date Signed)

Consent Form to join as Plaintiff in FLSA Claim against Versacom, LLC, et. al.

 

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Lu FHAM
DiREcT: 817.877.2860
EMAiL: LPHAM@cANTEYHANcER.coM

CANTEY HANGER PLAZA

600 WEsT 6TiH STREET, SUITE 300

FoRT WoRTH, TExAs 76 102
817.877.2800 - METRo 817.429_3815

CANTEY HANGER LLP FAX=817.877.2807

AT’l`ORNEYS

 

 

ENGAGEMENT AGREEMENT

We are pleased that you have decided to retain Cantey Hanger LLP (the “Firm’° or “we” or “our”) as counsel
to represent you in pursuit of your wage and overtime pay under the F air Labor Standards Act (“FLSA”) and
related claim(s) against Versacom, LLC, and/or its affiliates (the “Engagement”). The purpose of this letter is
to set forth Cantey Hanger’s acceptance of this matter and to briefly set out the terms concerning legal
services related to the above-referenced matter (the “Agreement). By signing this Agreement, you are
authorizing the Firrn to pursue your FLSA claims against Versacom, LLC, and/or its affiliates (the
“Employer”).

I. Scope of Engagement .

The Firm’s services will be limited to the representation of (hereafter “you”
or “your”) in pursuit of your FLSA and related claims against the Employer. The Firrn’s representation of
you does not include any matters not described in this Agreement. The Firm’s receipt or use of confidential
or other information from you in the course of this representation does not mean that the Firrn Will render any
other advice or services either to you or any other person or entity associated with you. Similarly, you will
not look to or rely upon the Firm for any investment, accounting, financial or other non-legal advice,
including Without limitation any advice regarding the character or credit of any person With whom you may be
dealing ln this matter, the F irm Will be representing you and the Firm will not be representing any other
person affiliated with you. lf any of these persons think that they may require counsel, the Firm would be
happy to discuss With them whether we might be able to represent them as Well, but any such representation
would need to be covered by a separate engagement agreement

 

II. Communications Between You and the Firm

We will keep you regularly informed of the status of this matter and will consult With you whenever
appropriate Communication with you will occur primarily through email. Therefore, by signing this
agreement, you agree to keep the Firm apprised of your current email address and check your email inbox
regularly for communications from the Firm. Furthermore, you agree to fully cooperate with the F irm in the
investigation, preparation, and prosecution of this Engagement. Within the Firm, Lu Pham will be primarily
responsible for this Engagement and will be actively involved in the preparation of the case and any trial or
arbitration As appropriate, various attorneys Within the F irm may participate in representing your interests,
and staffing levels may be changed as the need arises. The Firm Will of course seek to staff this Engagernent
in an effective and efficient manner.

III. No Guarantee of Result
in providing legal services to you, attorneys in the Finn may, from time to time, express opinions or beliefs
regarding the likely effectiveness of various courses of action or about results that may be anticipated You
understand that any such statements are opinions and beliefs only and are not promises or guaranties The
Firm cannot and do not guarantee any particular outcome of the Engagement.

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IV.

VI.

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Engagement Agreement
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Contingent Fee

In consideration of the services rendered and to be rendered by the Firm, you hereby set over, give to, assign,
transfer, grant and convey to the F irm a present forty percent (40%) interest in your cause or causes of action
and any recovery arising out of or related to this Engagement. Recovery is meant to include anything of value
you receive through settlement or judgment, and includes, property, money, benefits, the forgiveness of debt,
or any other thing of value, no matter how described, and also includes, without limitation, common law or
statutory damages, exemplary, multiplied, or punitive damages, attomeys’ fees, interest and court costs. lf
your recovery is unliquidated, such as an agreement to provide benefits in the future, the value of the recovery
means the present value of the property or benefit recovered as of the date of settlement or judgment You
acknowledge that you are giving up at this time to the Firm the above stated amount and that the stated
percentage will be paid to the Firm from the total amount of settlement or judgment recovered, AFTER THE
R_EIMBURSEMENT OF ANY EXPENSES ADVANCED OR lNCURRED BY THE FlRl\/I.

Expenses

Expenses typically include filing fees, service fees, travel and lodging expenses, expert witness fees, trial and
litigation support fees, audio-visual equipment charges, deposition or videographer fees, transcript fees, and
all other expenses incurred by the F irm as a consequence of pursuing this case which are not otherwise regular
overhead of the Firm. This means that the amount of any expenses advanced by the F irm will come off the
top of any settlement or judgment amount, and then the contingent fee will be figured after all expenses have
been paid. By way of example, if $20,000 of expenses has been incurred, and there is a $l_()0,000 recovery,
$20,000 will be reimbursed to the Firm and the contingent fee will be calculated as 40% of $80,000, or
$32,000. Thus the client will receive a net of $48,000 and the firm will receive a net of $52,0()0 ($32,000 +
20,()()0) in this example If the recovery is less than the expenses advanced or incurred, the Firm will receive
the entire recovery as a partial repayment of the expenses it has advanced or incurred. iN THE EVENT THERE IS
NO RECOVERY, Y()U WlLL OWE NO FEE TO THE FIRM.

Attorneys’ Fees

lt is possible that your claim will involve, in part, a claim for attorneys’ fees under state or federal law.
Sometimes, courts are reluctant to award a contingent amount as a fee or the law may prevent the award of a
contingent amount as a fee. We will therefore keep track of our hourly work on your case to ensure that your
fee claim is maximized in the event this case proceeds to a final judgment However, if there is a final
judgment which includes a fee award, you agree that the Firm will be entitled to the greater of the contingent
fee stated above or the attorneys’ fees awarded in the judgment By way of example, if you recover $lO0,000
from a final judgment, $80,000 of which is for damages, and $20,000 of which is for attorneys’ fees, and the
firm has advanced $20,000 of expenses, then the firm will be paid $32,000 out of the 35100,()00 recovery as its
contingent fee and will also be reimbursed its $20,000 in expenses, so that the net to the client would be
$48,000. Conversely, if you recover SlO0,000 in a final judgment, but only $60,000 of which is for damages
and $40,000 of which is for attorneys’ fees, then the firm will be paid $40,000 as its fee and will be
reimbursed the $20,00() of expenses advanced, so the net to the client would be $40,000. AGAIN, IF YOU
RECOVER NOTHING, YOU WlLL NOT BE LIABLE FOR ANY ATTORNEYS’ FEES TO THE FlRl\/l.

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VII. Your Consent Is Required To Settle
You acknowledge that the Firm is authorized to enter into settlement negotiations on your behalf as the Firm
deems appropriate However, as with all cases, the ultimate decision whether to settle or not to settle remains
with you. On the other hand, if, in the Firm’s opinion, a fair and reasonable offer has been made and you
reject the advice of the Firm to settle, you, at the Firm’s option, shall be obligated to immediately reimburse
the Firm for costs and expenses incurred up to that time, and the Firm may withdraw from the case, retaining
a lien on said cause of action for Attorneys’ fees and expenscs, to the extent earned and/or incurred.

VIII. Appeal and Collection
This agreement does not provide for costs or fees of an appeal or for collection proceedings If you and the
F irm agree that an appeal is appropriate in this case, or it becomes necessary to defend an appeal by one or
more defendants, you may, at your option, either: (l) retain the Firm at is prevailing hourly rate; or (2) retain
the Firm through a contingent fee payment of an additional ten percent (l()%). In the event you select the first
option, we may require a monetary retainer to secure payment of our hourly services. You may also, of
course, retain separate counsel for any appeal in this action, but your decision to do so will not alter in any
way the contingent fee amounts otherwise owed under this agreement lf you and the F irm agree that
collection proceedings are appropriate to obtain any Judgment, the F inn will not charge the client for
attorneys’ fees related to collection, but the Firm will be entitled to any additional attorneys’ fee award
recovered in a collection proceeding, and collection expenses will be charged against the client’s portion of
the recovery.

IX. Termination

Above all, our relationship with you must be based on trust, confidence and clear understanding lf you have
any questions at any time about this Agreement or the work that the firm, or any attorney, is performing,
please call Lu Pham to discuss your concerns You may terminate this representation at any time, with or
without cause. Subject to the application of Rule 1.15 of the Texas Rules of Professional Conduct, the Firm
shall be permitted to withdraw as counsel for you if (l) Firm’s investigation and/or discovery indicates that, in
our professional opinion, a reasonable basis for your claims does not or no longer exists or that further pursuit
of your claims will not be economically feasible or prudent; or (2) you fail to fully cooperate with the Firm or
(3) we determine, in our judgment, that you have misrepresented or omitted any material facts concerning
your claim. Any termination of our representation of you would be subject to such approval as may be
required from any court(s) in which we are appearing on your behalf.

X. Date of Commencement and Termination of the Engagement
Please note that the Firm is not obligated to perform services in connection with the Engagement until you
have returned a copy of this letter to me duly countersigned However, the effective date of this Engagement
is the date on which we first in fact perform services The Engagement will be considered terminated at the
earlier of (i) your termination of the representation, (ii) the Firm’s withdrawal from the representation, or (iii)
the completion of the Firm’s substantive work for you, which, in the absence of a letter notifying you of the
completion of the Engagement, shall be presumed to occur six months after the rendition of the final bill.

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XI. Dispute Resolution-NO JURY TRIAL

Although we think it is unlikely, it is possible that a dispute may arise between us regarding some aspect of
the Engagement and our representation of you. ln the event of any complaint by you with respect to any issue
relating to or arising from this Engagement you agree to meet with us to attempt a resolution through informal
discussions ln informal efforts to resolve a dispute are unsuccessful, you agree that any controversy, claim
or dispute that relates to or arises from this Engagement, or any work performed or not performed by the Firm
shall be resolved by a District Court in Tarrant County Texas WITHOUT A JURY AND BY THE PRESIDING
JUDGE OF THE COURT.

XII. Binding Agreement
By signing below, you represent to us that you have had enough time to review this Agreement, that you
understand it, and that you have either consulted another, independent lawyer about the provisions relating to
the waiver of conflicts of interest and dispute resolution and any other portion of the engagement agreement
that you as to which you wish to advice of counsel, or desire to waive the right to do so.

XIII. Amendments and Additional Engagements
The provisions of this Agreement may only be amended in writing, signed by both parties. lf you later ask us
to take on additional assignments, we will send you a supplementary engagement letter reflecting each
additional assignment lf the foregoing accurately reflects our agreement, please confirm that by signing and
returning a copy to the F irm via email at (sdean@canteyhanger.com).

STATEMENT TO BE SIGNED BY CLIENT(S)

l have read the above Agreement and understand and agree to its contents

By:

 

Date:

 

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